Case 1:24-cv-00648-AA   Document 23-52   Filed 06/20/24   Page 1 of 7




                        EXHIBIT 58
               Case 1:24-cv-00648-AA                 Document 23-52              Filed 06/20/24           Page 2 of 7 EXHIBIT 58


     PARIS COURT OF APPEAL                                                                  Paris, April 3, 2024
      Division 3 - Chamber 3

    Entrance: 10, bd. du Palais
    Phone: 01 44 32 52 52

    Open Monday to Friday
    from 9 AM to 5 PM

    Case no.: RG 24/05513
    Portalis no.: 35L7-V-87I-CJEDK
    Division 3 - Chamber 3

Nature of referral act: Summons - Proceedings on the merits
Date of referral act: March 12, 2024
Date of referral: March 26, 2024
Nature of the matter: Request of a ban on departure of a minor from French territory without authorization from both
parents
Decision attacked: No. 23/37100 issued by the Family Court Judge of PARIS on August 25, 2023

Appellant:
 Ms. Heidi BROWN, represented by Maitre Sandrine FARRUGIA, attorney at the PARIS bar

Respondent:
 Mr. Arnaud PARIS, represented by Maitre Terence RICHOUX, attorney at the PARIS bar

Requesting party:
Ms. Heidi BROWN, person appearing, assisted by Ma'itre Sandrine FARRUGIA

Respondent:
Mr. Arnaud PARIS, person appearing, assisted by Ma'itre Terence RICHOUX

Reading of the facts by Madam President

Madam President notes that there are 2 appeals: the appeal of the IST [departure ban] 3-2 and the appeal on the merits 3-4
and that the attorneys can request at this point that everything be adjudicated by the same chamber.

Maitre FARRUGIA: There are 2 points to be made regarding serious grounds for repeal and manifestly excessive
consequences.
Regarding the serious grounds for repeal: There is a problem with the service of this summons. The writ was not served on
Ms. BROWN. In the meantime, Mr. PARIS has re-summoned Ms. BROWN to appear before the Family Court Judge
regarding the children's dental care. She does not object to the care, but wanted to know the reason for it. And we realized
that this summons never reached Ms. BROWN and that she only received it through me. The service method in the United
States is slightly different from in France. We tried to find out what happened to the service of the departure ban. I contacted
the BAPA [Appeal Procedure Assistance Office], which advised me to issue a summons to communicate and they sent me
back the same writ. So I'm going to check the other previous writs, and I refer you to my exhibit 89.
They tell us that the papers have been found and prove that the summons of July 29, 2023 were delivered to my client at her
home in the United States, but I tell you that the summons was never served. This summons for a hearing on August 24, 2023
and resulted in the decision of August 25, 2023. Ms. BROWN came because we received the information via the
intermediary of the attorneys. I attended as well. She was present and represented; Article 688 of the CPP [Code of Penal
Procedure] states that [there is] a method of service for delivering the summons that must be respected. The writ is not
translated into English. This is not a cause for nullity. The procedure is irregular because the writ was not served on my client.
A plan for service was all I received, through communication between attorneys. I refer you to my written submissions,
Madam President.
Regarding the manifestly excessive consequences: Mr. PARIS is taking advantage of the departure ban without the
agreement of both parents to systematically veto all of Ms. BROWN's requests. I refer you to my exhibits 73, 74, & 75. Ms.
BROWN has just 10 days of vacation per year. When she is in France, she takes advantage of the time difference to [work
independently from home].
Before this April 21 decision, the whole family lived in the United States until October 9, 2022. On October 7, 2022, they
were all living under the same roof and they separated; I refer you to exhibits 32 and 34 when he referred the matter to the
Family Court Judge because he uses an apartment in Paris. He has had an American residency card for 20 years. It is unclear



                                             EXHIBIT 58 - PAGE 1 OF 6
                Case 1:24-cv-00648-AA                    Document 23-52               Filed 06/20/24             Page 3 of 7


what he does there. He has been released on bail in the United States: placement of a tracker on Ms. BROWN's car and he
went to look at her _emails with his ~ttorney.       .         .           .                .                                    ::;.<;..\..~~
In the US, alternating custody until July 19, 2023 m the Umted States m accordance with the agreement: two co~~f;~oto,}~~l\.
issued by an American judge. The children prohibited from leaving the state of Oregon. In the meantime, the P~s._~/ ••                         4-rs ; ~
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Cou1: Judge established the resid~ncy of the children at their father's home, sayin~ tha: the children would come$fp raq_~
startmg September 2023 because 1t was necessary to respect the order and the parentmg time.                       j-""'
To resp?nd to Y?~r question, the American and French authorities were follo~ing each other. A: th~ hearing t_·. _ rt\su~t,~~~~~;1~2
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the Apnl 21 dec1s1on, my colleague who represented Ms. BROWN pied only m regard to the terntonal lack ofJ 1~sdl~oH 0 of" ·'"9 '" . . .
the French court, without submitting exhibits on the merits.                                                         ~- r ~                           If
The American court orders were not communicated to the French judge.                                                  -lt:i\?.'tif;~d 1 \\~\\:t-47
I would like to draw your attention to the risk of very serious consequences for the children concerning the mother-anaL'ehJl_a._~ss:-
relationship. I would also request that you examine attentively my exhibits 80, 92, and 93. An Apple watch was givfe1M~ . .ft,,~t.,n;;tmg'1",;i,
year-old child so that she could call her father 24 hours a day. She is obliged to report all of the addresses where she goes in
France. She obtained American passports for her children in order to be able to board the plane for domestic travel in France
with her daughters.
She has just 10 days of paid vacation per year.
To respond to your question: Manifestly excessive consequences. Infringement of the mother's right to freedom of movement
in France and the father's systematic veto.


Maitre RICHOUX: The parents draft an agreement in which the parents commit to one year in France and one year in the
US. Everyone had been living in France for 3 years. Mr. PARIS uses the family computer. The agreement is exhibit 4 and the
direct quote that recaps everything is exhibit 5. This email contains Ms. BROWN's plan. So he refers the matter to the
Family Court Judge in France; Ms. BROWN's arguments submitted at the March 31 hearing, detailing the American court
orders; the French judge was aware of everything and ruled on the question of /is pendens.
Ms. BROWN set down in black and white that she would not respect French justice.
As of August 16, 2023, the French decision is not applicable in the United States.

Mr. PARIS therefore referred the matter in summary proceedings to the Paris Family Court Judge, who issued a departure
ban ruling. I refer you to my exhibit 70, which proves that the summons was hand delivered on July 29, 2023 at 1: 17 PM.

Ms. BROWN took no action to challenge because she knows she received the writ. I invite you to examine exhibit 86 from
the opposition; it is bank card statements from 2 days before - it could be a delayed debit. This tells us nothing for the 291\
This exhibit contains 2 lines that are redacted in black.
In exhibit 78, I submit an almost identical statement. You can see the details of the flight.

524 code of civil procedure: CPC 74 states that pleas of formal nullity must be raised before any defense on the merits. The
Court of Cassati on [Supreme Court of France for Civil and Criminal Matters] reminds us that this condition is valid before
the Court of Appeal. Ms. BROWN argued on the merits, but not on the formal nullity before the Court of Appeal that day.
This request for formal nullity therefore cannot be considered.
Supposing that this nullity had been established, which is not the case, she did nevertheless appear.

Regarding the manifestly excessive consequences: This week is not Ms. BROWN's week; the school security protocol is in
place due to the fact that on February 23, 2024 she requested an international extradition warrant against Mr. PARIS and the
girls with the assistance of the FBI.

On December 28, 2023, a judge awarded exclusive custody to Ms. BROWN. She asked the judge to order the return of the
girls to the US on penalty of 500 dollars per day.

What would constitute manifestly excessive consequences would be suspending the provisional enforcement.

All of the conditions had the sole objective of ensuring that the French decisions were re-transcribed in the US; for the rest,
she had the option of making counterproposals.

She sent the Oregon prosecutor the proposed protocol, stating that the sole objective was to deny her right of custody of the
children.

Refuse Ms. BROWN's request and ask yourself whether the procedure is abusive; I refer you to my conclusions for the rest.

Maitre FARRUGIA: With regard to the message of the attorney in the computer: She did not write an email saying that she
[would not] respect the French judge, but that she was waiting for the outcome of the appeal process.


                                                   EXHIBIT 58 - PAGE 2 OF 6
               Case 1:24-cv-00648-AA                Document 23-52              Filed 06/20/24          Page 4 of 7


The decision by the judge in Oregon in which she obtained custody is not enforceable as long as we do not have the results of
the Court of Appeal. She does not to commit a child abduction.
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                                                 EXHIBIT 58 - PAGE 3 OF 6
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        COUR O'APPEL OE PARIS                                             Paris, le 03 Avril 2024
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